                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                      IN THE UNITED STATES DISTRICT COURT                    February 04, 2020
                      FOR THE SOUTHERN DISTRICT OF TEXAS                     David J. Bradley, Clerk
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
vs.                                            §   CRIMINAL ACTION NO. H-18-311-1
                                               §
Marquis Holmes


                          ORDER RESETTING SENTENCING

      The sentencing of the defendant is hereby reset.

      1. The Probation Office will submit the fi nal PSR with an addendum 7 days prior to

        sentencing.
                                                             2.:30
      3. Sentencing will be held on   Fed. / 'f, �c:,� at � a-:-t"Tr./p.m.
      SIGNED on this the 3rd day of February, 2020.




                                                                SIM LAKE
                                                     UNITED STATES DISTRICT JUDGE
